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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
LINDSEY HETTISH,          *
                          *                        No. 18-1207V
              Petitioner, *                        Special Master Christian J. Moran
                          *
v.                        *                        Filed: June 17, 2020
                          *
SECRETARY OF HEALTH       *                        Stipulation; influenza vaccine;
AND HUMAN SERVICES,       *                        optic neuritis.
                          *
              Respondent. *
******************** *

Bridget C. McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner;
Camille M. Collett, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On June 16, 2020, the parties submitted a joint stipulation concerning the
petition for compensation filed by Lindsey Hettish on August 14, 2018. Petitioner
alleged that the influenza vaccine she received on January 26, 2017, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
her to suffer from optic neuritis. Petitioner further alleged that she suffered the
residual effects of this injury for more than six months. Petitioner represented that
there has been no prior award or settlement of a civil action for damages on her
behalf as a result of her injury.

       Respondent denies that the influenza vaccine caused petitioner’s optic
neuritis, any other injury, or her current condition.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $100,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 18-1207V according to this decision
and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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